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 5   Attorney for ZHEN SHU PANG,
     Defendant
 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT
 9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,           )   No. CR.S-08-543-GEB
                                         )
12                   Plaintiff,          )   STIPULATION AND ORDER CONTINUING
                                         )   MOTIONS SCHEDULE AND EXCLUDING
13        v.                             )   TIME
                                         )
14   ZHEN SHU PANG, JIMMY AU, and        )
     MAGGIE LUONG,                       )
15                                       )
                     Defendants.         )
16                                       )
17
18
19        It is hereby stipulated and agreed by and between the parties
20   hereto, through their respective counsel, that as to the three above-
21   named defendants, the pretrial motions schedule and the hearing date of
22   November 6, 2009, shall be extended and re-calendared for one week, as
23   follows: pretrial motions due filed October 2, 2009; responses due
24   October 23, 2009; replies due November 6, 2009; non-evidentiary hearing
25   on motions on November 13, 2009, at 9:00 a.m.
26        The parties further agree that time under the Speedy Trial Act
27   shall be excluded through November 13, 2009, to provide reasonable time
28                                           ///


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 1   for defense preparation of the case, pursuant to 18 U.S.C.
 2   §3161(h)(7)(B)(iv) (Local Code T4).
 3
 4   Dated: September 25, 2009                          /s/ Candace A. Fry
                                                     CANDACE A. FRY, Attorney for
 5                                                   ZHEN SHU PANG, Defendant
 6
     Dated: September 25, 2009                       LAWRENCE G. BROWN
 7                                                   Acting United States Attorney
 8                                             By      /s/ Candace A. Fry for
                                                     MICHAEL M. BECKWITH, Assistant
 9                                                   United States Attorney
10
     Dated: September 25, 2009                         /s/ Candace A. Fry for
11                                                   JAN D. KAROWSKY, Attorney for
                                                     JIMMY AU, Defendant
12
13   Dated: September 25, 2009                         /s/ Candace A. Fry
                                                     DINA L. SANTOS, Attorney for
14                                                   MAGGIE LUONG, Defendant
15
                                                     (Signed with authorization of
16                                                   the above counsel)
17
18                                         O R D E R
19
20   IT IS SO ORDERED.
21   Dated:     September 28, 2009
22
23                                        GARLAND E. BURRELL, JR.
24                                        United States District Judge

25
26
27
28


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